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PROB 12A
 (10/19)

                            UNITED STATES DISTRICT COURT
                                                     for the

                                          District of Maryland
                                 Report on Offender Under Supervision

Name of Offender: Mack A. Adams                                 Case Number: 0416 8:17-02705P-001
Name of Sentencing Judicial Officer: Thomas M. DiGirolamo, U.S. Magistrate Judge
Date of Original Sentence: June 29, 2021
                    Count 2 - Driving Under the Influence of Alcohol 36 CFR 4.23 (a)(1),
Original Offense:
                    Count 3 - Unsafe Operation 36 CFR 4.22(b)(1)
Original Sentence: 12 Months Probation, each count, concurrent
Type of Supervision: Probation                    Date Supervision Commenced: June 29, 2021


                                      NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:
    Violation Number                                   Nature of Noncompliance
                             Mack Adams failed to pay the special assessment and the balance of $200 remains
             1               outstanding.

                             Mack Adams failed to enroll in the victim impact panel program.
             2
                             Mack Adams tested positive for marijuana on July 13, 2021.
             3
                             Mack Adams failed to report to his probation officer on July 8 and 19, 2021.
             4
                             Mack Adams failed to notify his probation officer of his contact with law enforcement
             5               on July 21, 2021.

                             Mack Adams has failed to follow the instructions of his supervising officer regarding
             6               his conditions of release.

                             Mack Adams failed to comply with substance abuse and mental health assessment on
             7               August 10, 2021.
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U.S. Probation Officer Action:
Supervision Adjustment: Mr. Adams commenced supervision in the United States Probation Office for the
District of Columbia immediately following sentencing in this case.

Mr. Adams currently resides with his girlfriend, and their children in Northeast, Washington, D.C., although the
supervising officer has not verified the residence via an on-site visit, and she believes he may be homeless. Mr.
Adams has reported employment with Door Dash as a delivery driver; however, the supervising officer does not
believe Mr. Adams is employed at all.

Mr. Adams’ compliance has been described as unsatisfactory. He tested positive for marijuana during his initial
meeting with his probation officer on July 13, 2021. He admitted he used marijuana to self-medicate in order to
cope with his mental health symptoms. The District of Columbia probation office also confirmed through collateral
sources that Mr. Adams has a history of bipolar disorder, major depressive disorder, schizophrenia, and an
addiction to alcohol. Mr. Adams has disclosed he is unable to read or write well and he has cognitive delays.

Mr. Adams was verbally reprimanded for his drug use and referred to Family & Medical Counseling Services Inc.,
for a substance abuse and mental health assessment. On August 8, 2021, Mr. Adams failed to report for those
assessments alleging that he does not want to participate in treatment or take any medication. He was verbally
reprimanded again and provided with a new appointment. On September 13, 2021, Mr. Adams completed both
assessments, and the results remain pending.

The supervising officer reports that Mr. Adams has frequent contact with law enforcement while driving, but none
have resulted in new arrests. Mr. Adams failed to report to his probation officer as scheduled on July 8, and 19,
2021. He has not made any payments toward his special assessment and fine. He has not enrolled in a victim
impact program as instructed. The probation officer continues to work with Mr. Adams by assessing his
circumstances, providing precise instructions, while applying numerous interventions to help him understand the
consequences regarding his noncompliance.
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Recommendation: No action from the court is being requested at this time. The probation officer will continue
to monitor his progress.



                                                          Respectfully submitted,

                                                     by
                                                          Annette Morris, Senior U.S. Probation Officer

                                                          Date: October 26, 2021
                                                                  Reviewed by: BTO, SUSPO - 2021-10-26



          No Response is necessary unless the court directs that additional action be taken as follows:

     Submit a Request for Modifying the Condition or Term of Supervision

     Submit a Request for Warrant or Summons

     Other




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